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    LOCAL // BAY AREA & STATE

    Coronavirus        Local      Food      Election      Sporting Green          Biz+Tech       Culture Desk   Datebook   US & World
    Social distancing on Chestnut Street — what’s that?
    Steve Rubenstein
    May ,         Updated: May ,  : p.m.




    A few people are outside Cultivar on Chestnut Street in San Francisco on May .
    Photo: J.K. Dineen / The Chronicle


    Dozens of people standing shoulder to shoulder in front of two Marina District wine bars
    drew a visit and an admonishment on Friday night from San Francisco police.


    Police were called to the 2300 block of Chestnut Street where they found “people not
    complying with the health ordinance” to maintain social distance and wear face masks,
    said sergeant Michael Andraychak.
https://www.sfchronicle.com/bayarea/article/Social-distancing-on-Chestnut-Street-what-s-15275408.php                                    1/5
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            IN THIS PLAYLIST                                                        269 EPISODES


                 How to Smile With a Mask On                                                21 min


                 Songs of the Coronavirus Shutdown                                          14 min


                 I'm Over 65 But Who Are you Calling Elderly?                               21 min


                 Examining COVID-19 Myths                                                   20 min


                 Coronavirus Detectives: Contact Tracers                                    20 min



    The proprietors of the two bars, Howell’s and Cultivar, were “admonished” by oﬃcers,
    Andraychak said. It was the ﬁrst time the establishments had been the subject of
    complaints, he added.


    Photographs of dozens of unmasked young people crowded onto the sidewalk and street
    circulated on social media, drawing angry comments.


                   David Lytle, Armed Potato Guard
                   @davitydave

        Tonight in San Francisco’s Marina District at Howells
        bar.




        7:52 PM · May 15, 2020 from San Francisco, CA

               976            782 people are talking about this
https://www.sfchronicle.com/bayarea/article/Social-distancing-on-Chestnut-Street-what-s-15275408.php                                    2/5
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    “So much for stay-at-home,” wrote one comment poster. “These thugs can’t be trusted to
    make the right decision.”
    Coronavirus Local Food Election                       Sporting Green          Biz+Tech       Culture Desk   Datebook   US & World

    Coronavirus Pandemic




        Coronavirus Map: Tracking                                          Interactive Database: Bay Area
        COVID-19 cases across California                                   Layoﬀ Tracker



    Nick Barker, the general manager of Cultivar, acknowledged that his customers and
    others were violating pandemic rules when the oﬃcers arrived. The crowd quickly broke
    up, he said.


    “We support the police,” Barker said. “We’re thankful for their help. It’s hard to control a
    customer’s behavior, once they purchase a (take-out) product from us and go back
    outside.”




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      Life in the Bay       Food
                      Area has beenElection  Sporting
                                    upended by         Green Biz+Tech
                                                the coronavirus pandemic, Culture Desk
                                                                           as leaders haveDatebook    US & World
                                                                                           extended the
      shelter-in-place order through May. Tell us the questions you want answered, and the issues you
      think we should be investigating.


            Tell us your questions; what should we investigate?




                                                                                                           NEXT



    Under the state’s temporary coronavirus rules, bars and restaurants are allowed to serve
    alcoholic beverages for takeout.


    Andraychak said a report of the incident would be forwarded to the city attorney’s oﬃce.


    On Saturday evening around 7:30 p.m., Howell’s was closed, and only a few people could
    be seen outside Cultivar.


    NOTE: This story omitted a response from owners of one of the bars. Howell’s Bar co-
    owners Sameet Mehta and Nate Welch said they appreciated the police response and the
    dispersal of the crowd, not all of whom were Howell’s customers. Their bar sells
    beverages and food for takeout only and has signs urging customers and others not to
    congregate.


    Chronicle staﬀ writer J.K. Dineen contributed to this report.


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